Case 2:03-cv-02922-.]PI\/|-tmp Document 30 Filed 05/24/05 Page 1 of 3 Page|D 51

 

 

IN THE UNITED sTATEs DisTRIcr coURT "**"SD F-"""-~ _ m
FoR THE WEsTERN DISTRICT oF TENNESSEE q
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JANICE BoMAR, W n i-;a;j `iii§i-..r.ip(§l'g
Plaimiff,
V.

WAL-MART STORES, INC.,
and TITAN SECURITY, INC.,

Defendants.
Civil No. 03-2922-MI-P

 

WAL-MART STORES, INC.,
Cross Claimant,

v.

TITAN SECURITY, INC.,

Cross Defendant.

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OR])ER OF DISMISSAL WITH PREJUDICE

 

COME NOW the parties by and through Counsel and state to the Court that all the
differences heretofore existing in this cause between all parties have been Settled and that they
are in agreement that all claims may be dismissed with prejudice

IT IS, THEREFORE ORDERED, ADJUDGED AND DECREED that all matters
existing between Plaintiff and Defendants are hereby dismissed with prejudice

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all matters existing

between Cross Claimant and Cross Defendant are hereby dismissed with prejudice

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clinton J. simpson , §Y§/ne (#20284 ’
BAKER, DoNELso , BEARMAN,
cALDwELL & BERKOWITZ

165 Madison Avenue, Suite 2000
Memphis, TN 38103

(901) 526-2000

Attorney for D dant Wal-Mali@

\
Malher,é§squire
BOROD & KRAMER
80 Monroe Avenue, Suite Gl
l\/Iemphis, TN 38103
Attorney for Plaintiff Janice Bomar

 

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"' , v 43

Mery Glatst{ein, Esquire

SPICER, FLYNN& RUDSTROM, PLLC
80 Monroe Avenue, Suite 500

Memphis, Tennessee 38103

Attomey for Titan Security, Inc.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:03-CV-02922 was distributed by fax, mail, or direct printing on
May 25, 2005 to the parties listed.

ESSEE

 

Jeffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 l\/lonroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

Clinton J. Sirnpson

BAKER DONELSON BEARMAN & CALDWELL
20th Floor

165 Madison Avenue

l\/lemphis7 TN 38103

Elaine Sheng
BOROD & KRAMER
80 l\/lonroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

Scott A. Krarner
BOROD & KRAMER
80 l\/lonroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

W. Michael Richards

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
l\/lemphis7 TN 38103

Bruce S. Kramer
BOROD & KRAMER
80 l\/lonroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

